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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:11-CR-00296 WBS
11
                                 Plaintiff,            STIPULATION AND [PROPOSED] ORDER
12                                                     RESETTING SENTENCING DATES
                           v.
13
     MOCTEZUMA TOVAR, ET AL.,
14
                                 Defendants.
15

16

17          Defendants Moctezuma Tovar, Sandra Hermosillo, Jun Michael Dirain, and Manuel Herrera (the

18 “resolved defendants”) have pleaded guilty in this matter, all with cooperation provisions under Section

19 5K1.1 of the U.S. Sentencing Guidelines. These four defendants were set for sentencing on January 30,

20 2017. However, a retrial for the remaining defendants, Jaime Mayorga and Ruben Rodriguez, is now set

21 to begin on May 15, 2017.

22          As a result, the government and the resolved defendants, by and through their respective counsel

23 of record, stipulate and agree that sentencing of the resolved defendants should be continued to August

24 21, 2017 at 9:00 a.m. The Probation Officer has been consulted and is available on the stipulated date.

25 The sentencing deadlines would then be as follows:

26
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      STIPULATION CONTINUING SENTENCING                 1
30
             Case 2:11-cr-00296-WBS Document 514 Filed 01/25/17 Page 2 of 3

 1 Judgment and Sentencing Date:                                                         August 21, 2017 at
                                                                                                 9:00 a.m.
 2 Reply or Statement of Non-Opposition:
                                                                                           August 14, 2017
 3

 4 Motion for Correction of the Presentence Report shall be filed with the Court
   and served on the Probation Officer and opposing counsel no later than:                    July 31, 2017
 5
   The Presentence Report shall be filed with the Court and disclosed to counsel
 6 no later than:                                                                             July 24, 2017
 7
   Counsel’s written objections to the Presentence Report shall be delivered to the
 8 Probation Officer and opposing counsel no later than:                                      July 17, 2017

 9 The proposed Presentence Report shall be disclosed to counsel no later than:               July 10, 2017
10

11
     Dated: January 24, 2017                               PHILLIP A. TALBERT
12                                                         United States Attorney

13
                                                    By: s/ Brian A. Fogerty
14                                                      BRIAN A. FOGERTY
                                                        Assistant United States Attorney
15

16
     Dated: January 24, 2017                               s/ Brian A. Fogerty for Thomas A. Johnson
17                                                         THOMAS A. JOHNSON
                                                           Counsel for Defendant
18                                                         MOCTEZUMA TOVAR
                                                           [Authorized by email on 1/24/17]
19

20
     Dated: January 24, 2017                               s/ Brian A. Fogerty for Timothy Zindel
21                                                         TIMOTHY ZINDEL
                                                           Counsel for Defendant
22                                                         JUN MICHAEL DIRAIN
                                                           [Authorized by email on 1/24/17]
23

24
     Dated: January 24, 2017                               s/ Brian A. Fogerty for John Manning
25                                                         JOHN MANNING
                                                           Counsel for Defendant
26                                                         MANUEL HERRERA
                                                           [Authorized by email on 1/24/17]
27

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      STIPULATION CONTINUING SENTENCING                2
30
           Case 2:11-cr-00296-WBS Document 514 Filed 01/25/17 Page 3 of 3

 1 Dated: January 24, 2017                      s/ Brian A. Fogerty for Erin Radekin
                                                ERIN RADEKIN
 2                                              Counsel for Defendant
                                                SANDRA HERMOSILLO
 3                                              [Authorized by email on 1/24/17]
 4
                                         ORDER
 5
          It is so ORDERED.
 6

 7 Dated: January 25, 2017

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     STIPULATION CONTINUING SENTENCING      3
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